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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            WESTERN DIVISION


UNITED STATES OF AMERICA

VS.                                   CRIMINAL NO. 5:07-cr-00017-DCB-JCS

CHARLES EDWARD PRICE                                                 DEFENDANT


                                     ORDER

        This cause is before the Court on the defendant Charles Edward

Price’s Motion to Sever (docket entry no. 81) his trial from the

trial of his co-defendants Michael E. Tyler, Keafur Wallace, Kenny

T. Tyler, John H. Dillard, Cadie M. Bunch, Larry D. Jones, and

Christopher S. Walker. Having carefully considered the motion, the

government’s response, and being fully advised in the premises, the

Court orders as follows:

        Rule 8(b) of the Federal Rules of Criminal Procedure permits

defendants to be charged together “if they are alleged to have

participated in the same act or transaction or in the same series

of acts or transactions constituting an offense or offenses.”

Fed.R.Crim.P. 8(b).       Rule 14, in turn, allows a district court to

sever defendants if “it appears that a defendant or the government

is prejudiced by the joinder.”         Fed.R.Crim.P. 14; see also Zafiro

v. United States, 506 U.S. 534, 535 (1993).

        Generally,    “persons     indicted   together    should     be   tried

together, particularly in conspiracy cases.”               United States v.

Pettigrew, 77 F.3d 1500, 1517 (5th Cir. 1996)(citation omitted).
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As the Supreme Court has recognized: “There is a preference in the

federal system for joint trials of defendants who are indicted

together.”    Zafiro, 506 U.S. at 537.         Nevertheless, severance

should be ordered if a joint trial would be unfair and the

prejudice created by the joint trial is of the type “which the

trial court was able to afford protection [to the defendants].”

Pettigrew, 77 F.3d at 1517 (quotations and citations omitted).

     The defendant Price is charged in three counts of a seventeen-

count indictment: Count Two charges Price, M. Tyler, Wallace, K.

Tyler, Dillard, Tommie L. Shepperd1, Bunch, Jones, and Walker with

conspiracy to distribute a Schedule II controlled substance, as

prohibited by 21 U.S.C. § 841(a)(1), and in violation of 21 U.S.C.

§ 846 and 18 U.S.C. §       2; Count Thirteen charges Price with

possession of a Schedule II controlled substance, as prohibited by

21 U.S.C. § 841(a)(1), with intent to distribute in violation of 18

U.S.C. § 2; and Count Seventeen seeks criminal forfeiture pursuant

to 21 U.S.C. § 853 against Price, M. Tyler, Wallace, K. Tyler,

Dillard, Shepperd, Bunch, Jones, and Walker.

     Price has moved for severance because he believes that if he

is tried with his co-defendants, he will be unduly prejudiced.

Price asserts two main arguments in support of his claim of

prejudice. First, Price argues that since he was charged with only


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       Shepperd was indicted with the defendants mentioned above;
however, he is currently at large so he is not a defendant in the
present case.

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one substantive count other than conspiracy, and no other co-

defendants were charged in that same substantive count, he would be

unduly prejudiced if forced to be tried with the remaining eight

defendants.      The   second   argument   is    that    evidence     will     be

introduced showing the criminal actions of the co-indictees, but

that evidence will be irrelevant with regard to Price.

       The Fifth Circuit has held that a defendant is not entitled to

severance simply because he is charged with only one count of a

multiple count indictment.      Gordon v. United States, 438 F.2d 858,

878 (5th Cir. 1971). In Gordon, the defendant Fanning was indicted

on one count of conspiracy, but the indictment included seven

substantive charges against other defendants.             Id. at 878.          The

district court denied Fanning’s Motion for Severance, and the Fifth

Circuit affirmed.      The court of appeals held, “a conspiracy count

may be joined with the substantive offenses which are its objects,”

and each defendant “need not be charged in each count.”                 Id. at

878.     Moreover, in United States v. Perez, 189 F.3d 51, 67 (5th

Cir. 1973), the Fifth Circuit held that failure to name all

defendants in the substantive counts of an indictment, especially

in cases “where evidence relied upon to establish the conspiracy

embraces the substantive counts of the indictment,” does not

warrant severance.     Accordingly, Price’s first argument is without

merit.

       Price’s remaining argument presents a “guilt by association”


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theory of prejudice.      The Fifth Circuit has held, however, that

“[n]either   a   quantitative    disparity     in   the   evidence       nor     a

prejudicial spillover effect is sufficient in and of itself to

warrant a severance.”     United States v. Broussard, 80 F.3d 1025,

1037 (1996); See also United States v. Dale, 374 F.3d 321, 325 (5th

Cir. 2004); United States v. Mitchell, 31 F.3d 271, 276 (5th Cir.),

cert. denied, 513 U.S. 977 (1994).       In United States v. Stotts, 792

F.2d 1318, 1322 (5th Cir. 1986), the court held that the defendant

was not entitled to severance in a conspiracy prosecution “merely

because the co-defendant is more culpable th[a]n he.”

     Additionally, in United States v. Thompson, 253 F.3d 700, 2001

WL 498430, *2     (5th   Cir.   2001),   an   unpublished       Fifth   Circuit

opinion, two defendants were denied severance on drug distribution

and money laundering charges even though the other co-defendants

were charged with the more serious crime of murder.2                    The two

defendants claimed that the amount and graphic nature of the murder

evidence would be extremely prejudicial to their rights to a fair

trial.   The district court denied the motion to sever and issued a

limiting instruction to the jury.        The Fifth Circuit         found that

the limiting instructions minimized any potential prejudice and

affirmed the district court’s denial of the motion to sever.                   Id.

at *3.



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      In fact, the other defendants were charged with four
murders.

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     In the present case, the defendant has alleged nothing more

than guilt by association.         As explained above, the guilt by

association argument alone is not a sufficient ground for proving

prejudice.   Accordingly,

     IT IS HEREBY ORDERED that the defendant Charles Edward Price’s

Motion to Sever (docket entry no. 81) is DENIED.

     SO ORDERED, this the       13th       day of July, 2007.




                                     s/ David Bramlette
                                  UNITED STATES DISTRICT JUDGE




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